 Case 1:21-cv-01460-JHS Document 61 Filed 10/15/21 Page 1 of 4 PageID #: 604




                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO
                                  ____________________

CORY BONE AND LUIS CARRILLO,
individually and on behalf of all others
similarly situated,

       Plaintiffs,

v.                                                             Case No. 2:20-CV-00697 WJ/GJF

XTO ENERGY, INC.,

       Defendant.

         ORDER TRANSFERRING CASE TO THE DISTRICT OF DELAWARE

       THIS MATTER comes before the Court upon Plaintiffs’ Motion to Transfer (Doc. 59), and

regarding Defendant’s Briefing and Response (Doc. 60), filed pursuant to this Court’s

Memorandum Opinion and Order partially granting and partially deferring Defendant’s Motion to

Dismiss (Doc. 58). In that Order, the Court required parties to brief the issue of whether this case

should proceed as a smaller collective composed solely of New Mexico plaintiffs, or whether the

entire case should be transferred to Delaware where Defendant is incorporated and therefore would

be subject to general jurisdiction on all claims from the nationwide collective. Parties were

instructed to include legal authority for their respective positions.

       Defendant opposes transfer, arguing that 28 U.S.C. §§ 1406(a) and 1631 are inappropriate

vehicles for transfer because only claims lacking jurisdiction may be transferred through those

mechanisms. Id. at 2–3. Named plaintiffs Bone and Carillo have brought jurisdictionally proper

claims in the District of New Mexico. Id. Defendant asserts that the propriety of some claims in

this case (those of the named plaintiffs) means that the case as a whole—the entire mixed bag of
 Case 1:21-cv-01460-JHS Document 61 Filed 10/15/21 Page 2 of 4 PageID #: 605




claims with and without jurisdiction—may not be transferred under §§ 1406(a) and 1631. Id. The

Court agrees that these statutes are improper here.

       However, Defendant’s argument against transfer based on 28 U.S.C. § 1404(a) is less

persuasive. Under § 1404(a), a court may transfer a civil action “to any other district or division

where it might have been brought” if the transfer is “in the interest of justice.” Here, both sides

agree that a nationwide FLSA collective action is proper in a defendant’s home state, where general

jurisdiction applies. See Doc. 32 at 12; Doc. 33 at 3. The District of Delaware is Defendant’s home

state—a place where the action “might have been brought.” See Doc. 25, ¶ 15. Defendant argues

not that transfer under § 1404(a) is inappropriate, but that Plaintiffs have not made an adequate

showing of convenience in the new forum. (Doc. 60 at 2).

       Plaintiffs urge the Court to transfer the entire case to Delaware, but contrary to the Court’s

Order for additional briefing, they provide no legal support for their position as required in the

Order. Plaintiffs’ Motion to Transfer is sparse, but the Court notes that Plaintiffs’ earlier briefing

on the jurisdictional issue addresses the policy concerns inherent in dividing FLSA collective

actions into state-specific clusters of litigation. See Doc. 32 at 8 (discussing the risk of

“splinter[ing]” nationwide collective actions and “greatly diminish[ing] the efficacy of FLSA

collective actions as a means to vindicate employees’ rights”) (citation omitted).

       Based on the parties’ recent submissions, their previous motions on the record, and the

applicable law, the Court is convinced that transfer under 28 U.S.C. § 1404(a) is appropriate. See

Doc. 32 at 8; Doc. 33 at 3 (noting the available option to “litigate this case and all other FLSA

cases as a nationwide collective action: sue the defendant in its state of general jurisdiction.”).

       Moreover, case law from district courts in this circuit and appellate courts elsewhere

permits a court to transfer a case sua sponte under § 1404(a). See, e.g., Trout v. Organizacion



                                                  2
 Case 1:21-cv-01460-JHS Document 61 Filed 10/15/21 Page 3 of 4 PageID #: 606




Mundial de Boxeo, Inc., No. Civ. 16-00097, 2016 WL 10179368, at *6 (D.N.M. Aug. 3, 2016);

Tazoe v. Airbus S.A.S., 631 F.3d 1321, 1336 (11th Cir. 2011) (explaining the “long-approved

practice of permitting a court to transfer a case sua sponte” if “parties are first given the opportunity

to present their views on the issue”) (citing Costlow v. Weeks, 790 F.2d 1486, 1488 (9th Cir.

1986)); Amica Mut. Ins. Co. v. Fogel, 656 F.3d 167, 171 (3d Cir. 2011) (recognizing sua sponte

transfers); Union Elec. Co. v. Energy Ins. Mut. Ltd., 689 F.3d 968, 972 (8th Cir. 2012) (recognizing

authority supporting sua sponte transfers); Corley v. United States, 11 F.4th 79, 83, 90 (2d Cir.

2021) (declining to overturn sua sponte transfer); In re Ryze Claims Solutions, LLC, 968 F.3d 701,

706 n.5 (7th Cir. 2020) (§1404(a) sua sponte transfer authority is “well established”); Feller v.

Brock, 802 F.2d 722, 729 n.7 (4th Cir. 1986).

        When deciding on a motion to transfer, a court considers several discretionary factors,

including, inter alia, “the plaintiff’s choice of forum,” “the accessibility of witnesses and other

sources of proof,” and “all other considerations of a practical nature that make a trial easy,

expeditious and economical.” Emps. Mut. Cas. Co. v. Bartile Roofs, Inc., 618 F.3d 1153, 1167

(10th Cir. 2010). The most impactful of those factors in this case is the last one: the practical

considerations allowing for an “easy, expeditious and economical” trial. Id. Plaintiffs seek to

exercise their rights using a legal mechanism specifically designed for large swathes of similarly

situated individuals: the FLSA collective action. To disallow transfer to a jurisdiction where the

entire collective could litigate would be contrary to the spirit of the FLSA and an inefficient use

of judicial resources. See Smith v. Dollar Tree Stores, Inc., No. 1:11-CV-02299, 2012 WL

12343344, at *5 (N.D. Ga. May 10, 2012) (in FLSA action with many parties seeking a national

collective action, interests of justice under § 1404(a) weigh strongly in favor of transfer to




                                                   3
 Case 1:21-cv-01460-JHS Document 61 Filed 10/15/21 Page 4 of 4 PageID #: 607




jurisdiction where defendant is headquartered due to judicial efficiency and risk of inconsistent

rulings if action is splintered).

        For the above reasons, the Court hereby TRANSFERS this case to the District of Delaware.

Inasmuch as Plaintiffs responded to the Court’s Order with a Motion to Transfer (Doc. 59), the

Court hereby GRANTS that motion.

        IT IS SO ORDERED.

                                     ______________________________________
                                     WILLIAM P. JOHNSON
                                     CHIEF UNITED STATES DISTRICT JUDGE




                                               4
